

People v Wilson (2024 NY Slip Op 00982)





People v Wilson


2024 NY Slip Op 00982


Decided on February 27, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 27, 2024

Before: Singh, J.P., Friedman, González, Higgitt, Michael, JJ. 


Ind. No. 4316/17, 4363/17, 3589/17 Appeal No. 1752 Case No. 2019-04674 

[*1]The People of the State of New York, Respondent,
vMiguel Wilson, Defendant-Appellant. 


Twyla Carter, The Legal Aid Society, New York (Clara Hammond-Oakley of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Julia Gorski of counsel), for respondent.



Judgments, Supreme Court, New York County (Ann E. Scherzer, J., at plea; Ellen N. Biben, J., at sentencing), rendered March 12, 2019, convicting defendant, upon his pleas of guilty, of robbery in the first degree (two counts) and criminal possession of a weapon in the second and third degrees, and sentencing him to an aggregate term of 12 years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharges and fees imposed at sentencing, and otherwise affirmed.
Although we do not find that defendant made a valid waiver of the right to appeal, we perceive no basis for reducing the sentence.
Based on our own interest of justice powers, we vacate the surcharges and fees imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose this relief.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 27, 2024








